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 4                                                                            SEP 24 2019

 5                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY handy      DEPUTY CLERK
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 8                              UNITED STATES BANKRUPTCY COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10                                        NORTHERN DIVISION

11
     In re:                                                Case No.: 9:19-bk-11573-MB
12

13 HVI CAT CANYON, INC.,                                   Chapter 11

14                         Debtor.                         SCHEDULING ORDER ESTABLISHING
                                                           OMNIBUS HEARING DATES
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20            After a review of the record in this bankruptcy case, and having conducted the initial
21 chapter 11 status conference in this case, and for good cause appearing,

22 IT IS HEREBY ORDERED THAT:

23            1.    Omnibus Hearing Dates: The Court establishes the following Omnibus Hearing
24 Dates as the scheduled hearing days and times for hearing all motions, applications and other

25 matters in this case:

26                  October 3, 2019 at 10:00 a.m.
27                  October 28, 2019 at 10:00 a.m.
28                  November 22, 2019 at 10:00 a.m.
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 1                 December 3, 2019 at 10:00 a.m.

 2                 December 20, 2019 at 10:00 a.m.

 3                 January 17, 2020 at 10:00 a.m.

 4                 January 30, 2020 at 10:00 a.m.

 5

 6          If a motion, application or other document is filed purporting to set a hearing date

 7 inconsistent with the above-list of Omnibus Hearing Dates, the hearing on such document will be

 8 scheduled for the first Omnibus Hearing Date after the applicable notice period has expired. The

 9 filing party shall be responsible for filing and serving an amended notice of hearing on all parties

10 entitled to notice thereof. Nothing herein is intended to alter the notice required in advance of any

11 hearing pursuant to the Local Bankruptcy Rules or the Federal Rules of Bankruptcy Procedure.

12          2.     Location of Hearings: All hearings will be held in Courtroom 201 of the United

13 States Bankruptcy Court, 1415 State Street, Santa Barbara, California.

14          3.     Hearings for Motions Requiring Emergency or Expedited Relief: Local Bankruptcy

15 Rule 9075-1 shall govern all requests for emergency or expedited relief.

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23   Date: September 24, 2019
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                                 SCHEDULING ORDER ESTABLISHING OMNIBUS HEARING DATES
